                                   1:17-cv-01057-CSB # 159        Page 1 of 1
                                                                                                        E-FILED
Judgment in a Civil Case (02/11)                                     Wednesday, 26 December, 2018 04:31:07 PM
                                                                                   Clerk, U.S. District Court, ILCD
                             UNITED STATES DISTRICT COURT
                                                   for the
                                          Central District of Illinois

Cesar De La Garza                        )
                                         )
              Plaintiff,                 )
                                         )
                     vs.                 )                  Case Number: 17-1057
                                         )
John Baldwin, Gladyse Taylor, Joseph     )
Yurkovich, Melvin Michaels, Kennedy, )
Randy Pfister, Guy Pierce, Leslie        )
McCarty, Travis Bayler, J. James,        )
Sharon Simpson, Prentice, Shau, Posey, )
Brown, Farr, West, Kevin Edens, Sartain, )
Kristina Skeens, Wilson, Spring Rice,    )
Mary Richards, Rick Medearis, Mindy )
Hedrick, Aroyo, Ojelade, Tilden, Pouk, )
Nungard, Tracy, Jessica, Birkle, Jade    )
Drilling, Wexford Health Care Source Inc,)
Ford, Scott Punke, Robinson, Evens, Vilt )
Miester, Franks, Logan, Duckworth, Law,)
Jon Wilson, Solomon, Topell, Thorp, Lee )
Jessie, Rodriguez, Diaz, Baptista, Krug, )
Rosenburg, Campbell, Naretto, Cremer, )
Rose, Christopher Forbes                 )
                                         )
              Defendant.                 )

                                      JUDGMENT IN A CIVIL CASE

  ☐ JURY VERDICT. This action came before the Court for a trial by jury.                  The issues
have been tried and the jury has rendered its verdict.

  ☒ DECISION BY THE COURT.                      This action came before the Court, and a decision has
been rendered.

     IT IS ORDERED AND ADJUDGED that the action against the defendants is dismissed
without prejudice. The Plaintiff’s in forma pauperis status is revoked.

Dated: December 26, 2018

                                                            s/ Shig Yasunaga
                                                            Shig Yasunaga
                                                            Clerk, U.S. District Court
